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Attorneys for Defendants


                        IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO



SAINT ALPHONSUS HEALTH ALLIANCE,
INC. f/k/a ADVANTAGE CARE NETWORK,                   Case No. 1:18-cv-00183-REB
INC., an Idaho corporation, and SAINT
ALPHONSUS HEALTH SYSTEM, INC. an                     ANSWER TO COMPLAINT AND
Idaho corporation,                                   DEMAND FOR JURY TRIAL

                       Plaintiffs,

v.

CORIZON, LLC, f/k/a CORRECTIONAL
MEDICAL SYSTEMS, INC., a Missouri
limited liability company, and CORIZON
HEALTH, INC., a Delaware corporation,

                       Defendants.


       COME NOW Defendants Corizon, LLC and Corizon Health, Inc. (“Defendants”), by and

through their counsel of record, Elam & Burke, P.A., and in answer to the Complaint and

Demand for Jury Trial (“Plaintiffs’ Complaint”) filed by Plaintiffs Saint Alphonsus Health

Alliance and Saint Alphonsus Health System, Inc., admit, deny, and allege as follow:




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                                        FIRST DEFENSE

       Plaintiffs’ Complaint, and each and every allegation therein, fails to state a claim upon

which relief may be granted.

                                        SECOND DEFENSE

       Based upon either a lack of information or the belief that certain allegations contained in

Plaintiffs’ Complaint are untrue, Defendants deny each and every allegation of Plaintiffs’

Complaint except those specifically admitted herein.

                                        THIRD DEFENSE

       With respect to the specific allegations contained in Plaintiffs’ Complaint, Defendants

admit, deny and/or allege as follows:

                                                I.

                                            PARTIES

       1.       In response to the allegations in Paragraphs 1 and 2 of Plaintiffs’ Complaint,

Defendants admit the same.

       2.       In response to the allegations in Paragraph 3 of Plaintiffs’ Complaint, Defendants

admit only that Corizon, LLC is a Missouri limited liability company which does business in

Idaho with its principal place of business in Williamson County, Tennessee. Defendants further

admit that Corizon, LLC is a wholly owned subsidiary of Corizon Health, Inc, which is a

Delaware corporation doing business in Idaho, with its primary place of business in Williamson

County, Tennessee. Defendants deny the remaining allegations contained in Paragraph 3 of

Plaintiffs’ Complaint.




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                                                 II.

                                 JURISDICTION AND VENUE

       3.        In response to the allegations in Paragraphs 4 and 5 of Plaintiffs’ Complaint,

Defendants admit the same.

       4.        In response to the allegations in Paragraph 6 of Plaintiffs’ Complaint, Defendants

admit only that the events giving rise to Plaintiffs’ Complaint occurred in Ada County, Idaho.

Defendants deny the remaining allegations contained in Paragraph 6 of Plaintiffs’ Complaint,

including Plaintiffs’ characterizations, and to the extent that such allegations are legal

conclusions, no response is necessary.

                                                III.

                                              FACTS

       5.        In response to the allegations in Paragraph 7 of Plaintiffs’ Complaint, Defendants

admit only that Corizon, Inc. contracts with the State of Idaho to provide healthcare services to

inmates in the custody of the Idaho Department of Corrections (“IDOC Contract”) and that the

contract speaks for itself.

       6.        In response to the allegations in Paragraph 8 of Plaintiffs’ Complaint, Defendants

deny the same.

       7.        In response to the allegations in Paragraph 9 of Plaintiffs’ Complaint, Defendants

lack sufficient information or knowledge to form a belief as to the truth of the allegations

contained therein and, therefore, deny the same.

       8.        In response to the allegations in Paragraph 10 of Plaintiffs’ Complaint,

Defendants lack sufficient information or knowledge to form a belief as to the truth of the

allegations contained therein and, therefore, deny the same.




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       9.       In response to the allegations in Paragraph 11 of Plaintiffs’ Complaint,

Defendants admit only that the Service Agreement between Correctional Medical Services, Inc.

and Advantage Care Network, Inc. (“ACN”) was terminated effective February 9, 2015.

       10.      In response to the allegations in the first sentence of Paragraph 12 of Plaintiffs’

Complaint, Defendants lack sufficient information to form a belief as to the truth of the

allegation contained therein and, therefore, deny the same. The first part of the second sentence

in Paragraph 12 calls for a legal conclusion, to which no response is required. In response to the

remaining allegations in the second sentence of Paragraph 12, Defendants lack sufficient

information to form a belief as to the truth of the allegations and, therefore, deny the same.

       11.      In response to the allegations in Paragraph 13 of Plaintiffs’ Complaint,

Defendants admit only that a new agreement was discussed with ACN. As to the remaining

allegations in Paragraph 13 of Plaintiffs’ Complaint, Defendants lack sufficient information to

form a belief as to the truth of the allegations and, therefore, deny the same.

       12.      In response to the allegations in Paragraph 14 of Plaintiffs’ Complaint,

Defendants admit only that they did not enter a new agreement with ACN/Plaintiffs.

       13.      In response to the allegations in Paragraph 15 of Plaintiffs’ Complaint,

Defendants admit only that after February 9, 2015, Plaintiffs provided health care services to

inmates in the custody of the IDOC. As to the remaining allegations in Paragraph 15 of

Plaintiffs’ Complaint, Defendants lack sufficient information or knowledge to form a belief as to

the truth of the remaining allegations and, therefore, deny the same.

       14.      In response to the allegations in Paragraph 16 of Plaintiffs’ Complaint,

Defendants admit only that it reimbursed Plaintiffs’ medical services, which were provided to

IDOC inmates between February 10, 2015, and March 26, 2018, at Idaho Medicaid rates. As to




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the remaining allegations in Paragraph 16 of Plaintiffs’ Complaint, Defendants lack sufficient

information or knowledge to form a belief as to the truth of the remaining allegations and,

therefore, deny the same.

          15.   In response to the allegations in Paragraph 17 of Plaintiffs’ Complaint,

Defendants deny the same based either upon lack of knowledge or their belief the allegations are

untrue.

          16.   Paragraph 18 of Plaintiffs’ Complaint calls for legal conclusions, to which no

response is required. To the extent a response is required, Defendants deny the same.

          17.   Paragraph 19 of Plaintiffs’ Complaint calls for legal conclusions, to which no

response is required. To the extent a response is required to the allegations in Paragraph 19,

Defendants admit only that Idaho Code § 20-237B speaks for itself.

          18.   In response to the allegations in Paragraph 20 of Plaintiffs’ Complaint,

Defendants deny the same.

          19.   In response to the allegations in Paragraph 21 of Plaintiffs’ Complaint,

Defendants lack sufficient information or knowledge to form a belief as to the truth of the

allegations contained therein and, therefore, deny the same.

                                               IV.

                                       CAUSES OF ACTION

                                   Count I - Unjust Enrichment

          20.   Defendants incorporate each and every admission, denial, and defense set forth in

this Answer, as if set out in full herein.

          21.   Paragraph 23 of Plaintiffs’ Complaint calls for a legal conclusion, to which no

response is required. To the extent a response is required to the allegations in Paragraph 23 of




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Plaintiffs’ Complaint, Defendants deny that Plaintiffs conferred benefits on Corizon by providing

health care services to inmates in the custody of the IDOC.

       22.      In response to the allegations in Paragraph 24 of Plaintiffs’ Complaint,

Defendants deny the same.

       23.      Paragraph 25 of Plaintiffs’ Complaint calls for a legal conclusion, to which no

response is required. To the extent a response is required to the allegations in Paragraph 25,

Defendants deny the same.

       24.      Paragraph 26 of Plaintiffs’ Complaint calls for legal conclusions, to which no

response is required. To the extent a response is required to the allegations contained in

Paragraph 26, Defendants deny the same.

                                    Count II - Quantum Meruit

       25.      Defendants incorporate each and every admission, denial, and defense set forth in

this Answer, as if set out in full herein.

       26.      Paragraph 28 of Plaintiffs’ Complaint calls for a legal conclusion, to which no

response is required. To the extent a response is required to the allegations contained in

Paragraph 28, Defendants deny the same.

       27.      Paragraph 29 of Plaintiffs’ Complaint calls for a legal conclusion, to which no

response is required. To the extent a response is required to the allegations contained in

Paragraph 29, Defendants deny the same.

       28.      Paragraph 30 of Plaintiffs’ Complaint calls for a legal conclusion, to which no

response is required. To the extent a response is required to the allegations contained in

Paragraph 30, Defendants lack sufficient information or knowledge to form a belief as to the

truth of the allegations contained therein and, therefore, Defendants deny the same.




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        29.     Paragraph 31 of Plaintiffs’ Complaint calls for a legal conclusion, to which no

response is required. To the extent a response is required to the allegations contained in

Paragraph 31, Defendants deny the same.

        30.     Paragraph 32 of Plaintiffs’ Complaint calls for legal conclusions, to which no

response is required.    To the extent a response is required to the allegations contained in

Paragraph 32, Defendants deny the same.

                     RESPONSE TO DEMAND FOR ATTORNEY FEES

        Plaintiffs’ Demand for Attorney Fees calls for legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the same.

                                  AFFIRMATIVE DEFENSES

        By pleading certain defenses as affirmative defenses, Defendants do so for the purpose of

completeness and do not intend to suggest that Defendants have the burden of proof for any such

defense. Furthermore, as Defendants have not had the opportunity to conduct discovery in this

case, Defendants, by failing to raise an affirmative defense, do not intend to waive any such

defense, and specifically reserve the right to amend this answer to include additional affirmative

defenses.

                               FIRST AFFIRMATIVE DEFENSE

        Plaintiffs’ damages, if any, are barred in whole or in part, by Plaintiffs’ failure to mitigate

damages.

                             SECOND AFFIRMATIVE DEFENSE

        The damages alleged in Plaintiffs’ Complaint reasonably could have been avoided by

Plaintiffs.




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                              THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint and alleged damages, if any, are barred by the doctrine of waiver,

estoppel, and laches.

                            FOURTH AFFIRMATIVE DEFENSE

       If Plaintiffs incurred any damages, the same are the direct and proximate result of

intervening acts, constituting superseding causes, over which Defendants had no control, and for

which they bear no responsibility.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint and damages, if any, are barred in whole or in part because

Plaintiffs were notified that Plaintiffs would be reimbursed at Idaho Medicaid rates.

                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint is barred by Plaintiffs’ failure to join as a party to this action a party

or parties in whose absence complete relief cannot be accorded among those already parties,

thereby subjecting Defendants to a substantial risk of incurring double, multiple or otherwise

inconsistent obligations.

                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint and damages, if any, are barred in whole or in part because

Plaintiffs took the benefits of providing medical services to indigent inmates in the custody of

the IDOC at Idaho Medicaid reimbursement rates.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint and damages, if any, are barred in whole or in part because

Plaintiffs accepted reimbursement from Defendants at Idaho Medicaid rates.




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                              NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint and damages, if any, are barred in whole or in part because of

Plaintiffs’ failure to fully and timely comply with Defendants’ claims submission process and/or

appeals process.

                              TENTH AFFIRMATIVE DEFENSE

       At all relevant times, Defendants complied with the terms of the IDOC Contract, and any

other applicable statutory or contractual obligations.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs are not entitled to any claim for interest as alleged in Plaintiffs’ Complaint.

                            TWELFTH AFFIRMATIVE DEFENSE

       Plaintiffs are not entitled to any recovery because, at all times relevant to Plaintiffs’

Complaint, Defendants were acting as an agent of the State of Idaho/Idaho Department of

Correction.

                                 RESERVATION OF RIGHTS

       Discovery has just commenced, the result of which may reveal additional defenses to

Defendants. Defendants reserve the right to amend this Answer if appropriate.

                              REQUEST FOR ATTORNEY FEES

       Defendants have been required to retain the services of Elam & Burke, P.A., to defend

this action, and will continue to incur reasonable attorney fees based upon the time expended in

Defendants’ defense. Defendants, therefore, allege and hereby make a claim against Plaintiffs

for attorney fees and costs incurred in defending this action, pursuant to Idaho Code §§ 12-120,

12-120(3), and 12-121, and Rule 54 of the Federal Rules of Civil Procedure, and all other

applicable laws allowing for the recovery of costs or attorney fees in this action.




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                                           PRAYER

       WHEREFORE, Defendants pray for judgment as follows:

       1.      Plaintiffs’ Complaint be dismissed with prejudice and Plaintiffs take nothing

thereby;

       2.      Defendants be awarded costs, expenses, and reasonable attorney fees incurred in

defense of this matter; and

       3.      For such other and further relief as the Court deems just and equitable under the

circumstances of this lawsuit.

                                 DEMAND FOR JURY TRIAL

       Defendants hereby demand a trial by jury on all issues triable pursuant to Rule 38(b) of

the Federal Rules of Civil Procedure.

       DATED this 20th day of June, 2018.

                                          ELAM & BURKE, P.A.



                                          BY /S/ JOHN J. BURKE
                                            John J. Burke - Of the Firm
                                            Joseph F. Southers - Of the Firm
                                            Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 20th day of June, 2018, I electronically filed the
foregoing ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL, with the U.S.
District Court. Notice will automatically be electronically mailed to the following individuals
who are registered with the U.S. District Court CM/ECF System:

       Keely E. Duke                         ked@dukescanlan.com
       Bryan A. Nickels                      ban@dukescanlan.com


                                           /s/ John J. Burke
                                           John J. Burke
                                           Joseph F. Southers




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